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                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION



 YELLOWHAMMER FUND,

                               Plaintiffs,

        v.                                            No. 2:23-cv-00450-MHT-KFP

 STEVE MARSHALL, in his Official Capacity as
 Attorney General of Alabama,

                               Defendant.


 WEST ALABAMA WOMEN’S
 CENTER, et al.,

                               Plaintiffs,

        v.                                            No. 2:23-cv-00450-MHT-KFP

 STEVE MARSHALL, in his Official Capacity as
 Attorney General of Alabama,

                               Defendant.


                          NOTICE OF WITHDRAWAL OF COUNSEL

       NOTICE IS GIVEN that Lisa Newman, co-counsel for the United States of America,

withdraws as attorney of record for the United States of America in the above-captioned matter and

requests that her name be removed as attorney of record. Special Counsel Daniel Schwei and Trial

Attorneys Alexander Ely and Anna Deffebach will continue as counsel of record for the United States.

Dated: February 5, 2025                       Respectfully submitted,




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                              /s/Lisa Newman
                              LISA NEWMAN
                              Trial Attorney
                              U.S. Department of Justice
                              Civil Division, Federal Programs Branch
                              1100 L Street, N.W.
                              Washington, D.C. 20005
                              Tel: (202) 514-5578
                              Lisa.n.newman@usdoj.gov


                              Counsel for the United States




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